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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION


CHERYL WEIMAR,

                    Plaintiff,

v                                                   Case No: 5:19-cv-548-Oc-41PRL

FLORIDA DEPARTMENT OF
CORRECTIONS, KEITH TURNER,
RYAN DIONNE,

                    Defendants.

 JUDGE:           Judge Philip Lammens    COUNSEL FOR Steven Andrews
                                          PLAINTIFF
 DEPUTY           Mari Jo Taylor
 CLERK:
 COURT            DIGITAL                 COUNSEL FOR Nathan Paulich (FDOC)
 REPORTER                                 DEFENDANTS: Robert Buchanan (Turner)
                                                      Mallory Bennett (Dionne-telephonic)
 DATE/TIME:       December 12, 2019
                  09:02 am – 09:44 am
                  42 minutes

           CLERK’S MINUTES – MOTION TO PERMIT PLAINTIFF'S
          REPRESENTATIVES TO INTERVIEW INMATE WITNESSES
                              (Doc. 55)

Discussions with counsel regarding the motion.

ORDER TO ENTER
